






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00371-CR






Shabrun Antwone West, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT

NO. 04-767-K26, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted appellant Shabrun Antwone West of aggravated sexual assault and
sentenced him to 65 years' imprisonment.  See Tex. Penal Code Ann.  § 22.021 (West Supp. 2007).
In three issues presented, appellant argues that (1) the State improperly prosecuted him under the
wrong legal theory alleged in the indictment, (2) the trial court erred by admitting a hearsay
statement, and (3) the trial court erred during the punishment phase by admitting evidence of a prior
bad act. We affirm the judgment. 


BACKGROUND

		On the evening of July 22, 2004, appellant and some of his friends met the 14-year-old complainant C.H. and some of her friends at the Alexan Apartments swimming pool.  After
swimming and talking pool-side, the group went to the hike-and-bike trail near the apartment
complex to drink some alcohol.  They all returned to the pool area afterwards.  Shortly thereafter,
someone spotted a police car.  Because of the underage drinking, everyone scattered.  Appellant
grabbed C.H. and they ran off to the nearby hike-and-bike trail.  C.H. testified that when she asked
appellant to take her back to her friends or to her boyfriend's house, appellant sexually assaulted her. 

		C.H. testified that appellant beat her and threatened to kill her. She also testified that
appellant forced her to manually stimulate him and then raped her.  C.H. claimed she was screaming
and crying for appellant to stop but appellant continued to threaten that he would kill her.  C.H. was
eventually able to break free and run to a nearby residence.  She was later treated at the hospital.  

		A grand jury indicted appellant for aggravated sexual assault (count one) and sexual
assault of a child (count two).  See id. §§ 22.011, .021 (West Supp. 2007).  The aggravated sexual
assault charge claimed appellant "intentionally or knowingly caused the penetration of the female
sexual organ of [C.H.], without her consent, by the defendant's penis, and the defendant by acts or
words placed [C.H.] in fear that death, serious bodily injury, or kidnaping would be imminently
inflicted on [C.H.]."  The sexual assault charge claimed appellant "intentionally or knowingly caused
the penetration of the female sexual organ of [C.H.], a child, with the defendant's penis."  At trial,
the State proceeded only on count one--aggravated sexual assault.  

		During the trial, Mary Levy, a sexual assault nurse examiner, testified over appellant's
objections.  She testified that she took an oral history from C.H. to help her determine the proper
diagnosis and course of treatment and then performed the physical examination.  Appellant objected
to Levy's recount of C.H.'s oral history, claiming it was hearsay.  The trial court overruled
appellant's objection and admitted Levy's testimony of C.H.'s description of the assault:   


	We were walking.  He just started grabbing me.  I tried to push him off and he threw
me down on the ground and then I said 'No, no, no.' I was saying 'Why are you
doing this? Get off me. Why are you doing this?'  I just kept saying that.  And then
he said 'Pull off your pants.'  And I said 'No.'  And he was like, 'I'm known to kill. 
Just do as I say.'  Then he started banging me on the head, banging my head against
the ground over and over again, and pulled off my pants.  And I was still fighting him
while he was trying to pull off my pants.  And then he took out his penis and he just
said 'Whack it off for me.' And I just kept saying 'I don't know what you mean,' and
he hit me on the face over and over again.  He punched me in the eye and then he
stuck his penis in my vagina, and then he just started thrusting, I guess, and then I --
I don't know how long it was.  He was covering my face and my mouth and saying
'I don't want you to look at me.' And then he told me to turn over on my stomach
and I said no.  I guess he just kind of gave up on that.  Then I pushed him off really
hard and ran, and then he just said 'Yeah, you better run.' When were laying down
he went like that--"licking hand"--and put it down there on my vagina.  



		Afterwards, C.H. testified.  Appellant objected to her testimony, claiming that her
description of the sexual assault would be an improper prior consistent statement with that given by
Levy.  The trial court overruled the objection, and C.H. testified about the sexual assault. 

		The jury found appellant guilty of aggravated sexual assault.  Prior to the punishment
phase, appellant objected to the admission of extraneous offense evidence the State intended to
introduce during the punishment phase.  Before trial, appellant filed a Motion to Disclose Other
Crimes, Wrongs, or Acts, and the trial court ordered the State to provide appellant notice of such
extraneous offenses no later than ten days prior to trial (the trial began on May 23, 2005).  The State
filed its Notice of Intention to Use Extraneous Offenses and Prior Convictions on May 13, 2005. 
Five days later, on May 18, 2005, it filed two Supplemental Notices of Intention to Use Extraneous
Offenses and Prior Convictions, listing appellant's previous conviction for telephone harassment,
a pending felony offense of theft of a firearm, and two pending assault offenses against
Elicia&nbsp;Middleton. (1)  The trial court permitted the introduction of one of the late extraneous
offenses--one of the assaults against Middleton.  

		Middleton testified at the punishment phase.  She testified that after she met appellant
at a club, they went to a friend's house, where appellant asked Middleton to have sex.  When
Middleton said no, she testified that appellant struck her in the face, grabbed her from behind,
punched her in the face, and struck her head with a gin bottle.  Middleton was able to break free from
appellant and call 911.  She was treated at a local hospital.  Middleton admitted on cross-examination that she had a prior theft conviction and that she resided with appellant after the assault. 

		The jury sentenced appellant to 65 years' imprisonment.  


DISCUSSION

Consent Issue 

		In his first issue, appellant claims that his "conviction must be reversed and judgment

of acquittal rendered because the State prosecuted [him] under the wrong legal theory alleged in the
indictment by electing to try this case as an aggravated sexual assault without the person's consent,
when the person was a minor who could not consent, instead of trying this case as an aggravated
sexual assault of a minor, which does not require lack of consent as an element of the offense." 

		Texas Penal Code subsection 22.021(a)(1)(A)(i) provides that "[a] person commits
an offense:  (1) if the person:  (A) intentionally or knowingly:  causes the penetration of the anus or
female sexual organ of another person by any means, without that person's consent; . . . "
(Emphasis&nbsp;added.)  Appellant claims that the State improperly prosecuted him under this section
because C.H., a minor, could not have legally consented.  Rather, he claims he should have been
prosecuted under subsection 22.021(a)(1)(B)(i), which provides that "[a] person commits an offense: 
(1) if the person: . . .  (B) intentionally or knowingly: . . . (ii) causes the penetration of the anus or
female sexual organ of a child by any means." (Emphasis added.) 

		Appellant's argument is without merit.  The State has the discretion to choose under
which section of a particular statute to prosecute a defendant.  Neal v. State, 150 S.W.3d 169, 173
(Tex. Crim. App. 2004) (quoting State v. Malone Serv. Co., 829 S.W.2d 763, 769 (Tex. 1992)).
Here, the State chose to prosecute based upon a lack of consent rather than the victim's age.  See
Hernandez v. State, 861 S.W.2d 908, 909 (Tex. Crim. App. 1993).  The plain language of section
22.011 provides for two general methods of committing sexual assault:  (1) involving specified
contacts made upon a complainant without the complainant's consent, per section 22.011(a)(1); and
(2) involving specified contacts made upon a complainant who is a child (i.e., a person younger than
17 years of age who is not the spouse of the accused), per section 22.011(a)(2).  See Tex. Penal Code
§§ 22.011(a)(1), (a)(2) (West Supp. 2007).  Section 22.021, the aggravated sexual assault section,
contains the same two general methods of committing sexual assault but includes a list of
aggravating factors. In choosing to prosecute under subsection 22.021(a)(1), the without consent
subsection of the aggravated sexual assault section, the State simply imposed an additional burden
upon itself that it need not have incurred.  See Fancher v. State, 659 S.W.2d 836, 838 (Tex. Crim.
App. 1983).  That the State chose to increase its burden of proof to include the element of consent
did not harm appellant.  As appellant concedes, a minor is legally incapable of consenting to sexual
activity.  See Lewis v. State, 191 S.W.3d 225, 228 (Tex. App.--San Antonio 2005, pet. ref'd). 
Therefore, the State could have simply proved that appellant engaged in the act alleged and relied
solely upon the victim's age to prove the commission of the sexual assault.  Instead, the State offered
uncontroverted proof that the victim was younger than seventeen years and that she did not consent
to the assaultive conduct.  We overrule appellant's first issue.  


Statement to Sexual Assault Nurse Examiner

		In his second issue, appellant argues that the trial court erred by "admitting the
complainant's hearsay statement to the [sexual assault nurse examiner], which was not a statement
made for the purpose of medical treatment."  Alternatively, appellant argues that if it is determined
that the statement to the nurse examiner is admissible, "the complainant's live testimony which
duplicated this statement should have been excluded as improper bolstering which was not
admissible as a prior consistent statement." 

		During the trial, nurse examiner Levy testified that she had extensive experience and
had received specialized training to become a sexual assault nurse examiner.  She explained that one
of the first steps in a sexual assault investigation is the taking of a history for the purpose of medical
diagnosis and treatment.  During trial, Levy read verbatim from her medical report the statement
C.H. provided to her.  

		We review decisions to admit or exclude evidence under an abuse of discretion
standard.  Shuffield v. State, 189 S.W.3d 782, 793 (Tex. Crim. App. 2006). We will not reverse a
ruling that falls within the zone of reasonable disagreement.  Robbins v. State, 88 S.W.3d 256, 260
(Tex. Crim App. 2002). 

		Rule 803(4) provides an exception to the hearsay rule for "statements made for
purposes of medical diagnosis or treatment and describing medical history, or past or present
symptoms, pain, or sensations, or the inception or general character of the cause or external source
thereof insofar as reasonably pertinent to diagnosis or treatment."  Tex. R. Evid. 803(4).  Courts have
interpreted this exception to include statements by suspected victims of child abuse concerning the
source of their injuries.  See Barnes v. State, 165 S.W.3d 75, 82 (Tex. App.--Austin 2005, no pet);
Burns v. State, 122 S.W.3d 434, 438 (Tex. App.--Houston [1st Dist.] 2003, pet. ref'd);
Gregory&nbsp;v.&nbsp;State, 56 S.W.3d 164, 183 (Tex. App.--Houston [14th Dist.] 2001, pet. dism'd);
Beheler&nbsp;v. State, 3 S.W.3d 182, 189 (Tex. App.--Fort Worth 1999, pet. ref'd).  The medical
treatment exception assumes the patient understands the importance of being truthful with healthcare
providers so as to receive accurate diagnosis and treatment.  See Beheler, 3 S.W.3d at 182.  Texas
courts have adopted a two-part test for determining whether the Rule 803(4) exception applies: 
(1)&nbsp;the declarant must make the statement for the purpose of receiving treatment, and (2) the content
of the statement must be such as is reasonably relied upon by a health care professional. See Barnes,
165 S.W.3d at 82 (statement made by child abuse victim to doctor admissible when conducted for
legitimate medical examination). 

		Here, Levy testified that she met with and conducted an examination of C.H.  Levy 
explained that she took the oral history in order to accurately diagnose and treat C.H.'s injuries. 
Although no witness specifically testified that C.H. understood the need to be truthful, the trial court
could reasonably have concluded this; C.H. was responding to questions from a health-care provider
about her condition and the incident and there is no indication those statements were made in the
presence of family members or law enforcement officers.  C.H.'s statements to Levy were made
while receiving medical care at the hospital, at a time when Levy had little information about what
happened, and were consistent with the physical evidence.  C.H.'s statements guided the medical
examination and assisted Levy in knowing what to look for, where to look, and what tests to conduct. 
Based on the record before us, the trial court did not abuse its discretion when it concluded the
hearsay exception for medical diagnosis or treatment applied.  

		Appellant also argues that if C.H.'s statement to Levy was properly admitted then
C.H.'s "subsequent live testimony which repeated that information should have been excluded" as
improper bolstering under Rule 613(c). (2)  Rule 613(c) provides that "[a] prior statement of a witness
which is consistent with the testimony of the witness is inadmissible except as provided in Rule
801(e)(1)(B)."  Tex. R. Evid. 613(c).  An objection based on Rule 613(c) only applies to a witness's
prior statement, not to in-court testimony.  See id.  In other words, a bolstering objection is
appropriately made to a prior consistent statement introduced after the witness's in-court trial
testimony.  Here, appellant is complaining that C.H.'s in-court testimony bolstered Levy's reading
of C.H.'s prior statement.  Accordingly, the trial court did not abuse its discretion in admitting the
testimony.  We overrule appellant's second issue.  

Punishment Evidence	

		In his third issue, appellant argues that the trial court "committed reversible error at
the punishment phase of trial by admitting one of four late-noticed bad acts."  Appellant argues that
the admitted offense was harmful because "the offense was not disclosed timely and trial counsel
did not have adequate time to prepare for this offense" which was "an important component of the
State's punishment case" and was emphasized by the State during its punishment argument.  

		A trial court has broad discretion to admit or exclude extraneous offense evidence. 
See &nbsp;McDonald v. State, 179 S.W.3d 571, 576 (Tex. Crim. App. 2005).  When determining whether
a trial court erred in admitting evidence, we review the trial court's decision for an abuse of
discretion.  Id.  Texas Code of Criminal Procedure article 37.07, section 3(g) provides that "on
timely request of the defendant, notice of intent to introduce evidence under this article shall be
given in the same manner required by Rule 404(b), Texas Rules of Evidence."  Tex. Code Crim.
Proc. Ann. art. 37.07, § 3(g) (West Supp. 2007).  Rule 404(b) requires that, on timely request,
"reasonable notice" be given by the State of its intent to introduce evidence of  other crimes, wrongs,
or acts by the defendant. Tex. R. Evid. 404(b). (3)
  The reasonableness of the State's notice generally
turns on the facts and circumstances of each case. &nbsp;Patton v. State, 25 S.W.3d 387, 392
(Tex.&nbsp;App.--Austin 2000, pet. ref'd). 

		Here, as in Patton, we find that it was not an abuse of discretion for the trial court to
conclude that the notice was reasonable under the circumstances.  In Patton, we held the trial court
did not abuse its discretion in concluding that notice was reasonable when the State gave notice of
its intent to introduce evidence of a conviction from another county two days before trial began,
when the prosecutor first became aware of the conviction. &nbsp;Id. at 394; compare with Neuman v. State,
951 S.W.2d 538, 539 (Tex. App.--Austin 1997, no pet.) (harmful error and no reasonable notice
when State notified defense counsel on day of trial of its intent to introduce recording of threatening
telephone call from defendant to complainant when it was obvious from the circumstances that the
State had been in possession of recording for some time).  The record here indicates that the State
provided supplemental notice to defense counsel as soon as it found out about the unadjudicated
assault against Middleton.  The record does not reflect that there was any lack of diligence by the
State to discover the evidence.  The State also provided the notice to defense counsel five days
before trial, thus providing counsel an opportunity to prepare to defend against it.  We find that the
trial court did not err in admitting the extraneous offense evidence during the punishment phase.  

		Even if the court did err in admitting the extraneous offense evidence, we find that
such error is harmless.  The erroneous admission of evidence of an extraneous offense is not
constitutional error. &nbsp;Roethel v. State, 80 S.W.3d 276, 280 (Tex. App.--Austin 2002, no pet.). 
Accordingly, we must disregard the error unless it affects appellant's substantial rights.  See Tex. R.
App. P. 44.2(b); Roethel,&nbsp;80 S.W.3d at 281.  In Roethel, we held that the harm resulting from a
violation of the section 3(g) notice requirement must be analyzed in light of the statute's intended
purpose, which is to enable the defendant to prepare to meet the evidence of other offenses or
convictions. &nbsp;80 S.W.3d at 281.  Accordingly, we will examine the record to determine whether
the&nbsp;lack of notice resulted from prosecutorial bad faith or prevented appellant from preparing for
trial.  Id.  at 282.  

		We find no indication of bad faith in the State's failure to provide timely notice.  The
record does not reflect that the omission was intended to mislead appellant or prevent him from
preparing a defense.  The State explained that it did not become aware of the assault until five days
prior to trial when it received the offense report.  It had contacted the Terrell Police Department
several weeks earlier trying to obtain information about appellant, but had a difficult time getting 
anyone to return its calls.  The State explained that the extraneous offenses "were not present on
Defendant's NCIC-TCIC because they had not served any of these warrants or I guess Kaufman
County isn't very good about putting those things in there.  We found out about them and turned that
information over to Defense Counsel as quickly as possible." 

		Nor was appellant surprised by the substance of the testimony.  The record reflects
that defense counsel knew of the incident involving Middleton.  During the hearing regarding the
admissibility of the late-noticed extraneous offenses, defense counsel noted that Middleton was on
probation for theft and that she moved in with appellant after the alleged assault.   The record also
reveals that appellant was given an opportunity to and did cross-examine Middleton about the
assault.  See McDonald, 179 S.W.2d at 578.  Additionally, during closing argument at the
punishment hearing, the State did not emphasize the offense involving Middleton.  Finally, appellant
has not shown how his defense was affected by the admission of the evidence or how his defensive
strategy would have changed had the State timely informed him that it intended to introduce the
evidence. We overrule appellant's third issue.

CONCLUSION

		We affirm the judgment of the trial court.

								

						__________________________________________

						David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Affirmed

Filed:   July 18, 2008

Do Not Publish 
1.   The State claimed that on May 17, 2005, it learned from a detective that appellant had some
charges pending against him in Kaufman County.  The State had been trying for weeks to acquire
additional information from the Terrell Police Department concerning pending charges against
appellant because those did not appear on appellant's criminal history.  
2.   If we construe appellant's complaint as arguing that the admission of the medical records
was improper bolstering of C.H.'s in-court testimony, the record does not indicate the State
introduced the medical records for the sole purpose of enhancing C.H.'s credibility or the credibility
of other evidence.  See Cohn v. State, 849 S.W.2d 817, 819-20 (Tex. Crim. App. 1993). Therefore,
the trial court did not abuse its discretion in overruling appellant's bolstering objection.  
3.   Here, the State had been expressly ordered to give the defense at least ten days' notice. 
Five&nbsp;days prior to trial, it filed two Supplemental Notices of Intention to Use Extraneous Offenses
and Prior Convictions.  During a hearing on the matter, the State agreed not to introduce evidence
of the telephone harassment conviction or the unadjudicated offense of theft of a firearm.  The trial
court permitted only evidence of one of the assaults against Middleton to be admitted. 



